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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 19-cv-25114-MGC

   CHRISTOPHER MOALE,

          Plaintiff,

   v.

   TONNO LIMITED, a British Virgin Islands
   Company, with Offices in New York and
   JEAN PIGOZZI, an Individual

         Defendants.
   ___________________________________/

         RESPONSE TO DEFENDANT TONNO LTD’S MOTION TO DISMISS THE

                                          COMPLAINT

          Plaintiff, CHRISTOPHER MOALE (“Moale”), by and through undersigned counsel

   hereby files his Response to Defendant Tonno LTD (“Tonno”) Motion to Dismiss the

   Complaint as follows:

    I.    INTRODUCTION

          Plaintiff argues that the Court has either specific or general personal jurisdiction over

   the Defendant Tonno. Plaintiff has alleged that Tonno committed a tort by willfully,

   wantonly and persistently disregarding Tonno’s clear obligation to pay wages and

   maintenance and cure obligations to Moale. It is undisputed that when Moale arrived in

   Florida, Tonno improperly fired Moale and willfully and wantonly stopped paying Moale

   his wages and the benefits due to him under the well-established maintenance and cure

   doctrine. Tonno and its agents had a duty to duly investigate and pay Captain Moale for his

   wages earned during his service on Tonno’s vessel and, in connection with personal injuries
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   suffered and benefits due to him under the maintenance and cure doctrine. However, not

   only did Tonno fail to meet their legal obligations to Captain Moale, they did so after being

   given direct access to Moale where he resides in Florida, where he was receiving his medical

   treatments and where his medical records are located. It is clear that Tonno failed to act to

   provide for Captain Moale’s wages and that Tonno never provided Captain Moale with his

   benefits under the maintenance and cure, all due to him in Florida. Furthermore, Plaintiff

   alleged Tonno either directly or through its Managers Fraser Yachts of Ft. Lauderdale,

   Florida, entered into numerous contracts in Florida, including but not limited to, a contract

   to insure the very vessel involved in this situation. The insurance contract between Tonno

   and Chubb Insurance was entered into in Florida. Moreover, Tonno hired Fraser Yachts as

   the vessel management agent in Florida. Finally, all of the relevant employment and vessel

   records are most likely kept with Fraser Yachts in Florida.

          The Court also has subject matter jurisdiction over Tonno through either diversity or

   admiralty jurisdiction. Moale is both a resident and a citizen of Florida. His passport was

   issued in Florida. His permanent address is in Florida and he has no intention of leaving

   Florida and if needed, Plaintiff will amend the Complaint to clarify the wording of its

   diversity jurisdiction allegation. Finally, the Court also has admiralty jurisdiction, as Moale,

   a seaman, is a ward of the court. It has long been held that admiralty courts will take

   jurisdiction over a seaman’s claims against a vessel “prevent and ameliorate cruelty and

   injustice” to protect a seaman, even if it was a foreign seaman, on a foreign flagged vessel

   with a foreign employment contract. The August Belmont, 153 F. 639, 641 (S.D. Ga. 1907).

   In this case, the seaman in question is an American citizen and Master licensed by the
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   United States of America, which gives this Court more reason to protect him against

   Tonno’s acts of cruelty and injustice towards Moale.

   II.      FACTS

         1. Plaintiff is a US citizen and a permanent resident of Florida and thus a citizen of

            Florida for diversity purposes.

         2. Plaintiff was an American seaman employed by Tonno at the time of the incident.

            Plaintiff’s country of residence was the USA and had an American passport issued in

            Miami, Florida. In addition, Plaintiff used a Master’s license issued by the US Coast

            Guard to captain the vessels. See Exhibit A – Employment Contract, at 1.

         3. Plaintiff’s employer on the contract was Tonno LTD, based out of New York, USA.

            Id. at 5.

         4. On October 22, 2018, Plaintiff was injured aboard the M/Y Velcro Fish (“Vessel”).

            [DE 1].

         5. Tonno hired Fraser Yachts, a Florida corporation located at 1800 SE 10th Ave, Suite

            400, Ft. Lauderdale, Florida, as its agent to manage the Vessel and the employment

            of the Plaintiff with Tonno. See Exhibit A, at 1; see Exhibit H.

         6. Tonno entered into an insurance contract with Chubb in the USA to insure the

            Vessel with insurance policy number Y08713911.

         7. On November 09, 2018, Captain Moale arrived in Florida after the incident and

            simultaneously stopped receiving wage payments from Tonno. See Exhibit A;

         8. Plaintiff contacted Tonno and its insurance shortly afterwards and informed them of

            his injuries. See Id. Dr. Rudnick diagnosed Plaintiff with multiple shoulder and hip
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        injuries and after only $15,000 of payments for medical treatment, Tonno and its

        insurance stopped all payments. See Id.

     9. Plaintiff made demands regarding the non-payment of wages, maintenance and cure

        to Defendant’s insurance representative in the US. See Exhibit B – Email to Chubb.

     10. Plaintiff repeatedly made his demands for wages and maintenance and cure

        throughout 2018 and 2019 and eventually Plaintiff was contacted by Defendant’s

        attorney’s in response to the demands. See Exhibit C – Email from Davant to

        Plaintiff; see Exhibit D – Davant letter to Plaintiff.

     11. On October 22, 2019, Plaintiff’s counsel permitted Tonno and its counsel to

        communicate directly with Captain Moale in order to negotiate a maintenance rate

        and cure payments. See Exhibit E – Email allowing Davant to speak to Plaintiff

        directly.

     12. Captain Moale provided Tonno and its counsel with his medical records to show the

        extent of his injuries. On November 27, 2019 Tonno’s counsel based in Ft.

        Lauderdale, Florida confirmed that they had received Dr. Baker’s medical records

        regarding the Plaintiff’s injuries and forwarded them to Plaintiff’s counsel. All of this

        took place before the lawsuit was filed. See Exhibit F – Email from Davant

        confirming receiving Plaintiff’s medical records.

     13. Plaintiff awaited Tonno’s payments of maintenance and cure based on the records

        provided, however Plaintiff was greeted only with silence from the Defendants.

     14. On December 11, 2019, Plaintiff filed the Complaint against the Defendants alleging

        failure to pay wages, maintenance & cure and negligence per se. [DE 1].

     15. To date, Defendants have not paid the Plaintiff his wages, maintenance and cure.
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   III.   MEMORANDUM OF LAW

              a. Standard of Review and Applicable Law

          To survive a motion to dismiss, a plaintiff must plead "only enough facts to state a

   claim to relief that is plausible on its face." Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

   (2007) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). When determining whether the

   complaint is plausible, the "complaint must be construed in the light most favorable to the

   plaintiff and the factual allegations taken as true." Brooks v. Blue Cross & Blue Shield of Fla.,

   Inc., 116 F.3d 1364, 1369 (11th Cir. 1997).

          This Court has specific personal jurisdiction over Tonno because while Tonno

   committed a “tortious acts outside the state”, the injury itself was caused in Florida thus

   giving rise to specific personal jurisdiction under Fla. Stat. § 48.193 (1)(a)(2)1. Posner v. Essex

   Ins. Co., 178 F.3d 1209, 1217 (11th Cir. 1999); see also Colindres v. Port City S.S. Servs., No. 10-

   23321-Civ, 2011 U.S. Dist. LEXIS 44102, at *5 (S.D. Fla. Apr. 15, 2011).

              b. Plaintiff has properly alleged personal jurisdiction against Tonno

                     1. The Court has Specific Jurisdiction over Tonno

          Plaintiff alleged specific personal jurisdiction under Fla. Stat. § 48.193 because

   Tonno committed a tort of failing to pay wages, maintenance and cure in Florida. [DE 1] at

   6. Under the law, there are two types of maintenance and cure, a tort and a contract type.

   See Blige v. M/V Geechee Girl (in Re Casey), 180 F. Supp. 2d 1349, 1354 (S.D. Ga. 2001)




   1
    Fla. Stat. § 48.193 (1)(a)(2) will be referred to as Fla. Stat. § 48.193 (1)(b) in older case law
   such as Posner v. Essex Ins. Co., 178 F.3d 1209, 1217 (11th Cir. 1999) as the statute has been
   re-written and its subparts reorganized.
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   (quoting Guevara v. Mar. Overseas Corp., 59 F.3d 1496, 1511-12 (5th Cir. 1995)2). The tort

   type of maintenance & cure, as alleged by the Plaintiff “involves a personal injury; i.e.,

   typically a worsening of the seaman's physical or mental health caused by the failure to

   provide maintenance or, more likely, cure”. Id. Plaintiff’s allegations clearly fall in the “tort-

   like” type of maintenance and cure because Tonno’s willful, arbitrary, capricious actions to

   not pay Plaintiff his maintenance and cure have worsened his injuries and his health. See

   [DE 1]. Due to not receiving wages, maintenance and cure Plaintiff’s treatment was delayed

   which led to further deterioration in both his physical and mental condition as what could

   have been treated with simple treatment has now led to multiple surgeries on his hips and

   shoulders. See [DE 1]; see also Exhibit G – Operation Records.

          Since Tonno’s actions caused injury to the Plaintiff in Florida by worsening his

   physical and mental condition, even though the original tortious action occurred outside of

   Florida, personal jurisdiction exists on Tonno in Florida. See Posner v. Essex Ins. Co., 178

   F.3d 1209, 1217 (11th Cir. 1999) (finding that Fla. Stat. § 48.193 applies to grant personal

   jurisdiction over “defendants committing tortious acts outside the state that cause injury in

   Florida”). Defendant’s cited cases are irrelevant to this case because Tarasewicz v. Royal

   Caribbean Cruises Ltd., Case No. 14-CIV-60885, 2015 WL 3970546, at *6 (S.D. Fla. June 30,

   2015) and the other cited cases were conducting a simple forum non conveniens choice of law

   analysis rather than a specific personal jurisdiction analysis under Fla. Stat. § 48.193. The

   question for Fla. Stat. § 48.193 is not where the wrongful act occurred, but rather where the

   injury occurred under Posner and thus case law regarding which law to apply is inapplicable


   2
    Guevara Court’s other holding that punitive damages cannot be awarded in maintenance &
   cure actions was overruled by the Supreme Court in Atl. Sounding Co. v. Townsend, 557 U.S.
   404 (2009).
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   to a jurisdictional analysis. See 178 F.3d at 1217. Posner instructs that the Court does have

   personal jurisdiction over the Defendants because they caused injury to the Plaintiff in

   Florida by failing to pay wages, maintenance and cure which worsened the Plaintiff’s

   condition. See Id.; see Exhibit G.

                     2. In the alternative, General Personal Jurisdiction exists over Tonno

          In the alternative, the Court has general personal jurisdiction over Tonno as they

   entered into a contract in Florida to hire Fraser Yachts, a Floridian corporation, as the

   vessel manager who also drafted Plaintiff’s employment contract. See Exhibit A; see also

   Exhibit H – Fraser Yachts SunBiz Records. This directly contradicts Defendant’s

   statements that Tonno does not conduct any business in Florida, when clearly on the

   Plaintiff’s employment contract, it states Fraser Yachts as the manager with a Florida

   address. Furthermore, Plaintiff alleges that Defendant has entered into an insurance

   contract with Chubb to insure the yacht, insurance policy number Y08713911. Hiring a

   Florida based yacht manager, drafting the contract and entering into insurance contracts to

   insure the yacht in Florida does qualify as “substantial and not isolated” activity in Florida

   under Fla. Stat. § 48.193(2).

                     3. Conferring Personal Jurisdiction over Tonno comports with the

                         Due Process Clause of the Fourteenth Amendment

          In the Eleventh Circuit, for “specific jurisdiction cases, courts apply a three-part test

   for minimum contacts, "which examines: (1) whether the plaintiff's claims 'arise out of or

   relate to' at least one of the defendant's contacts with the forum; (2) whether the non-

   resident defendant 'purposefully availed' himself of the privilege of conducting activities

   within the forum state, thus invoking the benefit of the forum state's laws; and (3) whether
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   the exercise of personal jurisdiction comports with 'traditional notions of fair play and

   substantial justice."” Duncanson v. Wine & Canvas Dev., LLC, No. 6:14-cv-704-Orl-40KRS,

   2015 U.S. Dist. LEXIS 183785, at *34 (M.D. Fla. June 24, 2015) (quoting Louis Vuitton

   Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013)). Furthermore, Plaintiff bears

   the burden of proving “the first two prongs, and if the plaintiff does so, 'a defendant must

   make a compelling case that the exercise of jurisdiction would violate traditional notions of

   fair play and substantial justice.'" Id. (citing Louis Vuitton Malletier, S.A., 736 F.3d at 1355).

          As explained above, Plaintiff’s claim is that Tonno willfully and wantonly failed to

   pay for his wages, maintenance and cure which led to increased and worsened injuries in

   Florida. Thus, the Defendant’s contacts in Florida was the Defendant’s failure to pay which

   later caused Plaintiff’s injuries within Florida. See Posner, 178 F.3d at 1217. The first prong is

   also satisfied through Tonno’s use of its agent, Fraser Yachts, in Florida. See Duncanson,

   2015 U.S. Dist. LEXIS 183785, at *34 (holding the prongs are satisfied through the agent’s

   activities in Florida and because the acts occurred in Florida). The Defendant also has other

   contacts in Florida, such as hiring Fraser Yachts in Florida to act as the yacht manager,

   having Fraser Yachts create and maintain Plaintiff’s employment contract and contracting

   with Chubb to insure the vessel in the USA. The second prong is also satisfied because the

   act that occurred in Florida was the Plaintiff’s worsening injury by Tonno’s failure to pay

   wages, maintenance and cure. In addition, through Tonno’s contracts, with Fraser Yachts

   as the manager and with Chubb as the insurer, the Defendant purposefully availed itself of

   the privilege of conducting business in Florida and thus invoked the benefit of Florida’s

   laws. Florida is one of the world’s most preeminent forum for maritime activities in the

   world and is home to the highly reputable yacht brokers and management companies, such
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   as Fraser Yachts. Tonno made a purposeful decision in hiring Fraser Yachts in Florida to

   manage the vessel on its behalf due to both the corporation and the forum’s maritime

   reputation.

          Finally, the Defendant has not proven why exercising jurisdiction would offend

   notions of “fair play and substantial justice” and thus Plaintiff carries its burden and has

   proven personal jurisdiction. Tonno is a corporation, not an individual so they can appoint

   corporate representatives in Florida, perhaps Fraser Yachts as its yacht manager, to

   minimize any ‘travel’ concerns. Furthermore, it is highly likely that most of the relevant

   records and documents are stored with Fraser Yachts headquarters in Florida as Fraser

   Yachts is the manager and handles most of the day-to-day activities as related to the Vessel.

   Furthermore, Plaintiff’s medical treatment, records, and physicians are all in Florida and

   would be highly burdened to travel to another forum for this litigation.

              c. Plaintiff properly alleged Subject Matter Jurisdiction against Tonno

          The Court also has subject matter jurisdiction over the Defendant based on diversity

   jurisdiction or, alternatively, admiralty jurisdiction.

                     1. SMJ under Diversity Jurisdiction exists against Tonno

          Plaintiff is a citizen of Florida. Plaintiff’s permanent place of residence is Florida, he

   has not changed his residency and does not intend to change it, and thus he is domiciled in

   Florida. See McCormick v. Aderholt, 293 F.3d 1254, 1257-58 (11th Cir. 2002); see also Exhibit

   A. While it may have been improper wording, Plaintiff can amend the Complaint to allege

   properly Plaintiff’s citizenship in Florida.

                     2. In the alternative, SMJ under Admiralty Jurisdiction exists against

                         Tonno
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          The Court can also apply admiralty jurisdiction to this case in its discretion in order

   to prevent injustice and cruelty to the Plaintiff, a US citizen. See Exhibit A. Seamen, such as

   the Plaintiff are wards of the Court and are deserving of special considerations and

   protections against the employers, such as the Defendant. See U. S. Bulk Carriers, Inc. v.

   Arguelles, 400 U.S. 351, 355 (1971) (“Seamen from the start were wards of admiralty”); see

   also Karim v. Finch Shipping Co., 374 F.3d 302, 310 (5th Cir. 2004). It has been a principle of

   admiralty courts for centuries that even when all of the parties, the vessel, and the subject

   matter is foreign, the “the courts of the United States constantly exercise their authority to

   prevent and ameliorate cruelty and injustice”. The August Belmont, 153 F. 639, 641 (S.D. Ga.

   1907). The Court analyzed similar cases such as the Wilson v. The John Ritson (D.C.) 35 Fed.

   664 which held “[w]e have a case of a controversy between master and seaman of a foreign

   vessel, under a foreign flag, growing out of a contract made in their own country. There can

   be no question that, in the absence of treaty regulations to the contrary, this court has

   jurisdiction of the question”. See Id. (quoting Wilson v. The John Ritson (D.C.) 35 Fed. 664).

   Furthermore, American Courts sitting in admiralty have regularly accepted jurisdiction over

   foreign admiralty cases, such as in Lauritzen v. Larsen where the Court took jurisdiction over

   a lawsuit by a Danish seaman against a Danish vessel owner, on a Danish flagged ship with

   a contract based on Danish law while the seaman was injured in Havana, Cuba. 345 U.S.

   571, 573 (1953). In Hellenic Lines, Ltd. v. Rhoditis, 398 U.S. 306 (1970), the Court also took

   jurisdiction where the Plaintiff, a Greek citizen was employed on a Greek vessel, owned by

   a Greek corporation and his employment contract also was under Greek law and signed in

   Greece. The Court held that because the injury occurred in the USA and because the

   Plaintiff was a lawful permanent resident of the US, the Court had jurisdiction. See Id. at
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   310. Similarly, Plaintiff Moale argues that his injury occurred in Florida even though Tonno’s

   act may have occurred outside of Florida. See Posner, 178 F.3d at 1217.

          The August Belmont also exercised jurisdiction where an US citizen seaman sued a

   foreign-flagged ship with a foreign owner where the incident occurred in Germany for

   wrongfully terminating him and wrongfully withholding his wages. See The August Belmont,

   153 F. at 641. The contract was also signed outside of the US in front of foreign witnesses.

   The Court still exercised jurisdiction and granted relief to the plaintiff for his wrongfully

   withheld wages. The situation facing Captain Moale is the same as Lauritzen, Rhoditis and

   The August Belmont. See Lauritzen 345 U.S. at 573; Rhoditis, 398 U.S. at 310; see The August

   Belmont, 153 F. at 641. Plaintiff Moale, an American citizen, living in Florida, signed a

   seaman’s contract in a foreign country with a foreign vessel and its foreign owner, however

   as in The August Belmont, the Court can exercise admiralty jurisdiction in order to

   “ameliorate cruelty and injustice” to the Plaintiff. Tonno’s wrongful termination and

   withholding of wages clearly rises to the level of cruelty and injustice towards the Plaintiff as

   anticipated by the Court in The August Belmont. See Id. at 641. In addition, a Florida

   corporation, Fraser Yachts wrote the Plaintiff’s contract for his employment with Defendant

   Tonno that gives even more contacts to Florida than what existed in The August Belmont. See

   Id.

              d. Venue is proper over the Tonno

          Venue is proper under 28 U.S.C. §1391(b)(2) because the “substantial part of the

   events or omissions giving rise to the claim occurred” in Florida based on Tonno’s failure to

   pay wages, maintenance and cure which caused, increased and worsened the Plaintiff’s

   injuries in Florida. In the alternative, venue arises under 28 U.S.C. §1391(b)(3) because this
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   Court has personal jurisdiction over Tonno as described above. Under binding Eleventh

   Circuit case law, personal jurisdiction exists in Florida even when the Defendant commits

   “tortious acts outside the state” but the injury is caused in Florida. Posner, 178 F.3d at 1217.

   Plaintiff alleges that the injury to Plaintiff was caused in Florida due to his worsening

   medical condition from a failure to pay wages, maintenance and cure which gives rise to the

   tort-like maintenance and cure action against the Defendant. See Blige, 180 F. Supp. 2d at

   1354.

              e. Dismissal for Forum Non Conveniens is improper and American Maritime

                  substantive law should apply

           Admiralty jurisdiction clearly applies as described above and thus the only question

   for the Court is whether US maritime law or a foreign law should apply. As the Defendant

   admits, when admiralty jurisdiction applies, it is improper for the Court to dismiss the case

   and the Court should rather retain jurisdiction and apply whichever substantive law is

   proper. Smith v. Carnival Corp., 584 F.Supp.2d 1343, 1348 (S.D.Fla.2008); Belik v. Carlson

   Travel Group, Inc., 26 F.Supp.3d 1267, 1274 (S.D.Fla.2013) (citing Szumlicz, 698 F.2d at 1195

   (“[I]f United States law is applicable, the American court should retain jurisdiction rather

   than relegate the controversy to a foreign tribunal.”)

           Plaintiff argues that US maritime law should apply substantively under the Lauritzen

   and Rhoditis analysis. Lauritzen v. Larsen, 345 U.S. 571, 573 (1953); see Hellenic Lines, Ltd. v.

   Rhoditis, 398 U.S. 306, 307 (1970). The place of the wrongful act, the Plaintiff’s citizenship

   and place of the contract, and law of the forum and ship owners base of operations can

   arguably point to US law applying. The analysis of the eight factors however is not a

   mechanical one and one of the factors might satisfy the analysis for the Court as it may have
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   more weight than the other factors. See Hellenic Lines, Ltd. v. Rhoditis, 398 U.S. 306, 308

   (1970) (“The Lauritzen test, however, is not a mechanical one”). Furthermore, the

   Defendant does not seem to point to a single alternative forum in which they would accept

   jurisdiction, but rather just multiple other jurisdictions possibly exist, such as France, The

   British Virgin Islands, Cayman Islands. There is nothing stopping the Defendant from

   arguing in those forums that the case should also be dismissed since another alternative

   and/or adequate forum exists in order to keep avoiding their substantive duty of paying

   wages, maintenance & cure to the Plaintiff.

                       1. Place of the wrongful act;

          While the physical location of the wrongful act was in France, where Plaintiff fell on

   the ship due to its unseaworthy condition, this factor should have little to no bearing on the

   decision of which country’s law to apply in this Court. Lauritzen stated that “[t]he test of

   location of the wrongful act or omission, however sufficient for torts ashore, is of limited

   application to shipboard torts, because of the varieties of legal authority over waters she may

   navigate. Lauritzen, 345 U.S. at 583. If however, the Court holds that the place of the

   wrongful act was Florida due to the allegation that the tort-like claim against Tonno for

   failure to pay maintenance and cure worsened and aggravated Plaintiff’s injuries, then this

   factor points to the application of US law. See Posner, 178 F.3d at 1217; see Blige, 180 F.

   Supp. 2d at 1354.

                       2. Law of the flag;

          The flag of the Vessel is the Cayman Islands, well know so-called flag of

   convenience. While the Lauritzen Court did give significant weight to it, in the context of the

   instant case, it makes very little sense to apply Cayman Islands law to this case when this is
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   the only factor for the application of Cayman Islands law. Lauritzen, 345 U.S. at 584-86. In

   Lauritzen, other factors connected the case to Denmark, on top of the law of the flag which

   convinced the Court to hold that Danish law should have applied. See Id. Compared to

   Schexnider, it was a combination of the law of the flag, where the vessel was manufactured

   and the management of the day-to-day operations that overrode the citizenship factor of the

   seaman. Schexnider v. McDermott Int'l, 817 F.2d 1159, 1162 (5th Cir. 1987). However, in this

   case it is simply the law of the flag versus the citizenship of the Plaintiff and based on the

   cases analyzed by the Supreme Court, Plaintiff citizenship should take precedence. See

   Lauritzen, 345 U.S. at 584-86.

                    3. Allegiance or domicile of the injured;

          The tension between the second and third factor is very apparent in this case as the

   flag is under the Cayman Islands, however the injured is a US Citizen who resides in

   Florida. See Exhibit A. The Court recognized that the country of the injured seaman has a

   “legitimate interest that its nationals and permanent inhabitants be not maimed or disabled

   from self-support”. Lauritzen, 345 U.S. at 586. American courts adopted this overriding

   concern and held that US law applies simply based on the “fact that the wrongful act or

   omission alleged caused injury to an American citizen”. Id. While Lauritzen did not have to

   analyze this issue, as the seaman was Danish, other American courts did analyze the issue

   and held that US law should protect US Citizens. See Uravic v. F. Jarka Co., 282 U.S. 234,

   237 (1931) (Applying US law for a US citizen versus German flag); Shorter v. Bermuda & W.

   Indies S.S. Co., 57 F.2d 313 (S.D.N.Y. 1932) (Applying US law for a US citizen versus

   Bermuda flag); Gambera v. Bergoty, 132 F.2d 414, 415 (2d Cir. 1942) (Applying US law for a

   Naturalized immigrant versus Greek flag); The Oriskany, 3 F. Supp. 805, 806 (D. Md. 1933)
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   (Applying US law for a US citizen versus a British flag); Clark v. Montezuma Transp. Co., 217

   A.D. 172, 173 (App. Div. 1926) (Applying US law for a US citizen versus British flag); see

   also Symonette Shipyards, Ltd. v. Clark, 365 F.2d 464, 467 (5th Cir. 1966) 3 (“We are of the

   opinion that the citizenship of the seamen and the factors surrounding their employment are

   sufficient to justify applying the law of the United States.”).

          Plaintiff argues that the same principle should be applied because in addition to his

   US citizenship, as a seaman, Plaintiff is a ward of the court and must be protected against

   the ship owner’s abuses. See U. S. Bulk Carriers, Inc., 400 U.S. at 355; see Rhoditis, 398 U.S. at

   308.

                     4. Allegiance of defendant ship owner

          Lauritzen held that this factor is of very little importance because with modern

   developments, the corporate owners are mostly different from the flag of the vessel and so

   corporate formalities should be ignored in most cases. Lauritzen, 345 U.S. at 587-88. This

   same principle applies to Tonno as they are a BVI corporation that owns a Cayman Islands

   flagged vessel. While this factor points to the application of BVI law, it should be given no

   weight due to the allegiance of the ship owner being a mere corporate formality.

                     5. Place of contract

          As Lauritzen held, where the contract is physically signed is “fortuitous” as a seaman

   “takes his employment, like his fun, where he finds it”, which is exactly the situation he

   Plaintiff finds himself in. Lauritzen, 345 U.S. at 588. Plaintiff only signed the contract in

   France because he was in France at the time that Tonno was searching for crew. However,

   it is very likely that the contract itself was actually written in Florida by Tonno’s yacht

   3
    Fifth Circuit case law before 1981 is binding upon the Eleventh Circuit. See Bonner v. City of
   Prichard, Ala., 661 F.2d 1206, 1207 (11th Cir. 1981).
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   managers, Fraser Yachts. See Exhibit A, at 5-8. As the agents and managers of the vessel,

   Fraser Yachts is tasked with creating, negotiating and maintaining all of the documents and

   contracts in their Florida headquarters. It was just fortuitous that Plaintiff happened to be

   hired in France, as that was where he found the job offer. Either way, the Court held that

   when it comes to tort claims, such as tort-like maintenance and cure, “[w]e do not think the

   place of contract is a substantial influence in the choice between competing laws” so this

   factor should be given little to no weight. Lauritzen, 345 U.S. at 589. Plaintiff argues that

   since Fraser Yachts created the contract, this factor points to the application of US law.

                     6. Inaccessibility of foreign forum

          Defendant Tonno misinterprets this factor and the Lauritzen analysis of applying to

   dismissal of the suit in favor of another forum. The Court made it clear that the Lauritzen

   analysis simply decides which law to apply within a US court. See Id. at 589-90. The

   inaccessibility of a foreign forum factor is not important to either party if this Court accepts

   jurisdiction as it would simply be applying a different law within this Court. However, it is

   not clear which of the four countries law would apply to this case for example the law of the

   flag points to Cayman Islands, the Plaintiff’s citizenship points to US law, place of contract

   points to France but the Defendant’s citizenship points to BVI.

                     7. Law of the forum

          This factor clearly points to US Law as this chosen forum is in the United States.

                     8. The shipowner’s base of operations

          This factor can arguably point to the USA as well because Tonno’s agent, Fraser

   Yachts based out of Florida, controls the day-to-day operations of the vessel. Courts have

   held that this factor is a question of fact based on weighing various factors like “the location
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   of the shipowner's home office, the location where management and day-to-day operating

   decisions are made, the country where the ship most frequently calls or generates the most

   income, and the location of the ship's home port.” Gazis v. John S. Latsis, Inc., 729 F. Supp.

   979, 984 (S.D.N.Y. 1990) (summarizing the factors expressed in Sigalas v. Lido Maritime,

   Inc., 776 F.2d 1512, 1518 (11th Cir. 1985)). Tonno’s official home office address is a PO

   Box in the BVI, at P.O. Box 958, Road Town, Tortola, VG1110, British Virgin Islands. See

   Exhibit I. Management decisions are made in Florida through the vessel’s management

   company, Fraser Yachts and the ship’s home port is France. See Exhibit A. Fraser Yachts

   controls the management of the vessel, crew, and insurance out of its headquarters in

   Florida. Again, the three countries are of equal weight in this factor as the “base of

   operations” could be considered either USA, France or the BVI. In Plaintiff’s view, the day-

   to-day management of the ship should be the overriding factor and thus the Court should

   hold that the base of operations is Florida and thus US law applies in this factor.

              f. Traditional Forum Non Conveniens Factors

          While Plaintiff argues that this Court has jurisdiction and the only debate should be

   over which law this Court applies, Plaintiff will nonetheless analyze the traditional forum

   non conveniens factors as argued for dismissal of the case from this forum.

                     1. Adequate Alternative Forum

          Defendant has failed to show which alternative forum is adequate for Plaintiff’s

   claims. They have shown that multiple other forums may exist, such as France, Cayman

   Islands and BVI, however Tonno has failed to show which of those three should be the

   chosen alternative forum. For example, if this case is dismissed and the Plaintiff initiates a

   lawsuit in the BVI, there is nothing stopping Defendant from once again arguing that while
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   jurisdiction exists, the case should still be dismissed as it can better be litigated in France or

   the Cayman Islands. Just as France might be an adequate forum, so may be the BVI or

   Cayman Islands, or even the USA, should the action be initiated in those other forums.

                     2. Private Interests

          The private interest factors work heavily against the Defendant as mentioned above.

   Access to proof would be easier in Florida as all of Plaintiff’s medical records and the

   relevant witnesses, the treating physicians are from Florida. Furthermore, because Tonno’s

   management agent Fraser Yachts is based out of Florida, all of the corporate documents,

   Plaintiff’s employment records and contract will be stored with them in Florida.

   Furthermore, the vessel’s insurance is with Chubb, who is also an American corporation

   and so all of the relevant insurance documents are easily gathered within the US.

                     3. Public Interests

          The Court has held that “[r]elevant public interest factors include the sovereigns'

   interests in deciding the dispute, the administrative burdens posed by trial, and the need to

   apply foreign law”. Satz v. McDonnell Douglas Corp., 244 F.3d 1279, 1284 (11th Cir. 2001).

   There is a very strong interest in US courts resolving a dispute by the Plaintiff, a US citizen

   seaman. As a ward of the Court, and a US citizen, there is a “legitimate interest that its

   nationals and permanent inhabitants be not maimed or disabled from self-support”.

   Lauritzen, 345 U.S. at 586. The administrative burden would be the same in any court if this

   goes to trial so this factor has very little weight in the analysis. There is no need to apply

   foreign law in this case as analyzed above, US law should apply more as the Plaintiff is a

   US citizen, a seaman whose injuries were aggravated and increased in Florida by Tonno’s

   arbitrary and capricious actions by willfully failing to pay maintenance and cure. Therefore,
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   Plaintiff argues that dismissal for forum non conveniens is inappropriate and that this Court

   has jurisdiction.

              g. Plaintiff has stated a claim for relief as mentioned above

          Plaintiff has explained above that all of its counts are properly alleged and that the

   Court has personal jurisdiction based on the injury occurring in Florida through

   Defendant’s arbitrary and capricious actions. Furthermore, subject matter jurisdiction is

   proper through diversity and admiralty law. Plaintiff is a US citizen seaman and admiralty

   law applies as he is a ward of the court and Defendant has wrongfully terminated his

   employment and withheld wages, which gives rise to admiralty jurisdiction. See The August

   Belmont, 153 F. 639, 641 (S.D. Ga. 1907).

          WHEREFORE, Plaintiff respectfully requests that the Court deny the Defendant’s

   Motion to dismiss for lack of jurisdiction and for forum non conveniens and order that the

   Court has personal and subject matter jurisdiction and that US law applies under the

   Lauritzen analysis and grant any other relief that the Court finds appropriate.

   Dated: May 15, 2020                         Respectfully Submitted,

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                                     CERTIFICATE OF SERVICE
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          I HEREBY CERTIFY that on May 15, 2020, this document was served on counsel

   for all parties of record as it was electronically with the Clerk of the Court using the Court’s

   electronic filing system, CM/ECF.

                                               s/Kavan Vartak
                                                Kavan Vartak
